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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DISH NETWORK L.L.C.,                  §
                                      §     Civil Action No. 4:17-cv-01618
                                      §
             Plaintiff,               §
      v.                              §
                                      §
SHAHJAHAN DURRANI, d/b/a ZemTV,       §
and ADAM LACKMAN, d/b/a               §
www.tvaddons.ag, www.tvaddons.org,    §
www.streamingboxes.com, and           §
www.offshoregit.com,                  §
                                      §
             Defendants.              §
                                      §
_________________________________________________________________________________

             DEFENDANT ADAM LACKMAN’S UNOPPOSED REQUEST
                          FOR AN EXTENSION OF TIME
_________________________________________________________________________________


        On July 13, 2018, the Court entered an Order compelling the Defendant, Adam Lackman, to
produce discoverable material within five days.
        On July 16, 2018, counsel for the Defendant received notice from the Plaintiff that among
the discoverable materials sought were two hard drives. The hard drives at issue contain documents
seized from the Defendant during Canadian proceedings and were returned to his law firm therein no
later than June 7, 2018. However, as the Defendant’s Canadian law firm attests to [Exhibit 1], the
Defendant was never notified of their return.
        Defendant took immediate steps to obtain copies of the drives, however the Canadian law
firm cannot deliver the drives to Defendant’s counsel herein until tomorrow, July 19, 2018.
Furthermore, because Defendant’s counsel is unaware of the contents of the drives, they request five
days to review the drives and produce a privilege log, if necessary, along with the drives.


Dated: July 18, 2018

                                                        /s/ Jason E. Sweet
                                                        Jason E. Sweet (BBO# 668596)
                                                        BOOTH SWEET LLP
                                                        32R Essex Street
                                                        Cambridge, MA 02139
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                                                          Email: jsweet@boothsweet.com



                                                                    ________________
                                                          Adam Lackman
                                                          Defendant



                                    CERTIFICATE OF SERVICE

        I hereby certify that on July 18, 2018, the foregoing document, filed through the ECF system,
will be sent electronically to the registered participants as identified on the Notice of Electronic Filing.
                                                                   s/ Jason E. Sweet
                                                                   _________________
